
74 So.3d 1134 (2011)
Jeramie IRVIN, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-5346.
District Court of Appeal of Florida, First District.
November 22, 2011.
Jeramie Irvin, pro se, Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Because the appellant's notice of appeal failed to timely invoke the Court's jurisdiction, the appeal is hereby dismissed for lack of jurisdiction. The dismissal is without prejudice to any right the appellant may have to seek a belated appeal. See Funchess v. Moore, 766 So.2d 348 (Fla. 1st DCA 2000).
HAWKES, MARSTILLER, and RAY, JJ., concur.
